






Opinion issued May 21, 2009







     





In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00699-CV






AMPRO ENERGY GP, L.L.C. AND AMY GASCA, Appellants


V.


STEPHEN BROWNELL, INDIVIDUALLY AND DERIVATIVELY ON
BEHALF OF AMPRO ENERGY L.P., Appellee






On Appeal from the 280th District Court

Harris County, Texas

Trial Court Cause No. 0642242






MEMORANDUM OPINION

	On October 30, 2006, this Court abated this appeal because one or more of the
parties to the appeal, who was a defendant in the trial court, filed a suggestion of
bankruptcy. (1)

	Through the Public Access to Court Electronic Records (PACER) system, the
Court has learned that the final decree in the bankruptcy proceeding was issued on
January 16, 2008 and the case was closed.

	On March 31, 2009, the Clerk of this Court sent notice to all parties that unless
within 20 days any party to the appeal filed a motion to retain the appeal, this appeal
would be reinstated and dismissed for want of prosecution.

	We received no response to this letter.  Therefore, we lift the abatement and
reinstate the appeal, and we dismiss this appeal for want of prosecution.  See Tex. R.
App. P. 42.3 (b) (providing that appellate courts may dismiss appeal for want of
prosecution after giving 10 days' notice to all parties).  Any pending motions are
dismissed as moot.

PER CURIUM


Panel consists of Justices Keyes, Hanks, and Bland.

1. In re AMPRO ENERGY L.P., Debtor, 06-34291 (Bankr. S.D. Tex. filed Aug. 31,
2006).

